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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


 HON. PAULINE NEWMAN,

                  Plaintiff,                      Case No. 1:23-cv-01334-CRC

         v.

 HON. KIMBERLY A. MOORE, et al.,

                  Defendants.


                                        NOTICE
      Defendants write to notify the Court that the Judicial Conference’s JC&D Committee

has today affirmed the Federal Circuit Judicial Council’s September 20, 2023 order suspend-

ing Judge Newman. The JC&D Committee’s order is attached and publicly available here.

DATED: February 7, 2024                      Respectfully submitted,

                                             BRIAN M. BOYNTON
                                             Principal Deputy Assistant Attorney General

                                             CHRISTOPHER R. HALL
                                             Assistant Director, Federal Programs Branch

                                             /s/ Stephen Ehrlich
                                             STEPHEN EHRLICH
                                             M. ANDREW ZEE
                                             Attorneys
                                             U.S. Department of Justice
                                             Civil Division, Federal Programs Branch
                                             Peter W. Rodino, Jr. Federal Building
                                             970 Broad Street, 7th Floor
                                             Newark, NJ 07102
                                             Phone: (202) 305-9803
                                             Email: stephen.ehrlich@usdoj.gov

                                             Attorneys for Defendants




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